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                          EXHIBIT C-1

           Summary of H&K Work and
           Discounts by Timekeeper and
                Attorney Category




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                                                               Exhibit C-1: Summary of Work and Discounts by Timekeeper

                                                      Standard    Discounted           Total             Total         Discounted       Discounted      Billed       Invoiced                     Effective
              Name                   Title (Role)                                                                                                                               % Discount9
                                                     Hourly Rate1 Hourly Rate2      Work Hours 3       Work Value4     Work Hours5        Value6        Hours7       Amount8                    Hourly Rate10


Core Team
 Dewey, Josias                        Receiver       $   980.00 $       750.00          46.40         $    34,800.00        (4.50)     $ (3,375.00)      41.90   $ 31,425.00          -9.70%    $     677.26
 Magee, Jessica B                      Partner       $ 1,115.00 $       750.00         187.70         $   140,775.00       (54.50)     $ (40,875.00)    133.20   $ 99,900.00         -29.04%    $     532.23
 Mascianica, Scott^                    Partner       $ 1,025.00 $       750.00         318.90         $   239,175.00      (112.50)     $ (84,375.00)    206.40   $ 154,800.00        -35.28%    $     485.42
 Balthazor, Andrew W.                 Associate      $   555.00 $       450.00         369.30         $   166,185.00      (190.50)     $ (85,725.00)    178.80   $ 80,460.00         -51.58%    $     217.87
 Gonzalez, Dennis A.                  Associate      $   560.00 $       450.00         336.40         $   151,380.00      (102.90)     $ (46,305.00)    233.50   $ 105,075.00        -30.59%    $     312.35
 Englander, Alex M                    Associate      $   540.00 $       450.00         212.80         $    95,760.00       (76.80)     $ (34,560.00)    136.00   $ 61,200.00         -36.09%    $     287.59
Core Team Total                                                                       1,471.50        $   828,075.00      (541.70)     $ (295,215.00)   929.80   $ 532,860.00        -36.81%    $     362.12

Attorney Support Team
 Woods, Anjuli B.                      Partner                     $    750.00          31.90         $    23,925.00      (26.60)      $ (19,950.00)     5.30    $ 3,975.00           -83.39%   $     124.61
 Cohen, Justin                         Partner                     $    750.00           2.20         $     1,650.00       (0.20)      $    (150.00)     2.00    $ 1,500.00            -9.09%   $     681.82
 Meyercord, Lee S.                     Partner                     $    750.00           2.20         $     1,650.00       (0.50)      $    (375.00)     1.70    $ 1,275.00           -22.73%   $     579.55
 Jauregui, Eddie Albert                Partner                     $    750.00           3.00         $     2,250.00       (3.00)      $ (2,250.00)      0.00    $       -           -100.00%   $        -
 Asai, Kristin M.                      Partner                     $    750.00           0.20         $       150.00       (0.20)      $    (150.00)     0.00    $       -           -100.00%   $        -
 Magruder, Elliot A.                  Associate                    $    450.00         104.60         $    47,070.00      (37.80)      $ (17,010.00)    66.80    $ 30,060.00          -36.14%   $     287.38
 Occhino, Amelia R                    Associate                    $    450.00           6.40         $     2,880.00       (3.40)      $ (1,530.00)      3.00    $ 1,350.00           -53.13%   $     210.94
 Treas, Haylie D.                   Senior Counsel                 $    450.00           0.30         $       135.00       (0.30)      $    (135.00)     0.00    $       -           -100.00%   $        -
Attorney Support Team Total                                                            150.80         $    79,710.00      (72.00)      $ (41,550.00)    78.80    $ 38,160.00          -47.75%   $     253.05

Administrative/Data Team
 Review Attorneys                                                  $    150.00          76.40         $  11,460.00         (76.40)     $ (11,460.00)     0.00    $         -     -100.00%       $        -
 Paralegals                                                        $    150.00          52.20         $   7,830.00         (52.20)     $ (7,830.00)      0.00    $         -     -100.00%       $        -
 Research/eDiscovery Services                                      $    195.91         447.70         $  87,710.00        (447.70)     $ (87,710.00)     0.00    $         -     -100.00%       $        -
Administrative/Data Team Total                                                         576.30         $ 107,000.00        (576.30)     $ (107,000.00)    0.00    $         -     -100.00%       $        -

Sub Total                                                          $    461.56        2,198.60        $ 1,014,785.00     (1,190.00)    $ (443,765.00) 1,008.60 $ 571,020.00          -54.13%    $     259.72
- Fee Cap Discount                                                                                                                     $ (123,445.00)

Grand Total                                                        $    461.56        2,198.60        $ 1,014,785.00     (1,190.00)    $ (567,210.00) 1,008.60 $ 447,575.00          -55.89%    $     203.57

Notes:
1 - "Standard Hourly Rate" are the base hourly rates charged by the Core Team at the time of their application submission to the Commission. See Receiver Recommendation at Ex. 3.
2 - "Discounted Hourly Rate" are the discounted hourly rates for the Core Team that were proposed to the Commission for this matter. See Receiver Recommendation at Ex. 3.
3 - "Total Work Hours" is the total amount of hours committed by each professional to this matter.
4 - "Total Work Value" is the dollar value of the product of the Total Work Hours and the Discounted Hourly Rate for each professional.
5 - "Discounted Work Hours" is the number of work hours that H&K voluntarily wrote off and/or discounted for this matter.
6 - "Discounted Value" is the dollar value of H&K's discretionary discount applied to the invoices, obtained from the product of Discounted Work Hours and Discounted Hourly Rate.
7 - "Billed Hours" is the total number of hours that were actually billed to the Receivership Estate, which are net of the discounted amounts.
8 - "Invoiced Amount" is the total dollar value of the fees that were invoiced to the Receivership Estate, which are net of the discounted amounts.
9 - "% Discount" is the percentage difference between each professional's Total Work Value and their Invoiced Amount.
10 - "Effective Hourly Rate" is each professional's hourly rate after applying the discounted amounts, obtained by dividing the Invoiced Amount by the Total Work Hours.




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                                                                             Summary of Work by Category of Attorney
Billing Rates for Receiver and H&K Attorneys
                                                          Total     Discounted         Discounted       Billed       Invoiced         Fee Cap        Final Bill       Discounted       Effective    Additional
           Title (Role)            Total Work Hours1
                                                        Work Value2 Work Hours3          Value4         Hours5       Amount6         Discount7       Amount8          Hourly Rate9   Hourly Rate10 Discount %11
Receiver                                  46.40         $ 34,800.00       (4.50)      $ (3,375.00)    41.90        $ 31,425.00    $ (6,793.56) $ 24,631.44        $         750.00   $    530.85     -29.22%
Partner                                  546.10         $ 409,575.00     (197.50)     $ (148,125.00) 348.60        $ 261,450.00   $ (56,521.13) $ 204,928.87      $         750.00   $    375.26     -49.97%
Associate                               1,029.50        $ 463,275.00     (411.40)     $ (185,130.00) 618.10        $ 278,145.00   $ (60,130.31) $ 218,014.69      $         450.00   $    211.77     -52.94%
Senior Counsel                            0.30          $     135.00      (0.30)      $     (135.00)   0.00                0.00   $         -    $        -       $         450.00   $       -      -100.00%
Total                                   1,622.30        $ 907,785.00     (613.70)     $ (336,765.00) 1,008.60      $ 571,020.00   $ (123,445.00) $ 447,575.00


Notes:
1 - "Total Work Hours" is the total amount of hours committed by each category of attorney.
2 - "Total Work Value" is the dollar value of the product of the Total Work Hours and the Discounted Hourly Rate for category of attorney.
3 - "Discounted Work Hours" is the number of work hours that H&K voluntarily wrote off and/or discounted for this matter.
4 - "Discounted Value" is the dollar value of H&K's discretionary discount applied to the invoices, obtained from the product of Discounted Work Hours and Discounted Hourly Rate.
5 - "Billed Hours" is the total number of hours that were actually billed to the Receivership Estate, which are net of the discounted amounts.
6 - "Invoiced Amount" is the total dollar value of the fees that were invoiced to the Receivership Estate, which are net of the discounted amounts.
7 - "Fee Cap Discount" is the weighted discount for each category of professionals pursuant to the $200,000 fee cap for the first 30 days.
    This formula is calculated as: (Invoiced Amount for category of professional / total Invoiced Amount) * $123,445 (or the total Fee Cap Discount).
8 - "Final Bill Amount" is the difference between the Invoiced Amount and the Fee Cap Discount.
9 - "Discounted Hourly Rate" is the discounted hourly rate for each category of attorney that was proposed to the Commission for this matter. See Receiver Recommendation at Ex. 3.
10 - "Effective Hourly Rate" is the hourly rate for each attorney category after applying the discounted amounts, obtained by dividing the Final Bill Amount by the Total Work Hours.
11 - "Additional Discount %" is the percentage difference between the Discounted Hourly Rate and the Effective Hourly Rate.




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